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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                            )
ALAN CARLSON & PETER DELUCA,                ) Civil Action No. 13-cv-2635
individually and on behalf of a class of    )
similarly situated individuals,             ) Judge Andrea Wood
                                            )
               Plaintiffs,                  ) Magistrate Judge Maria Valdez
                                            )
v.                                          )
                                            )
NORTHROP GRUMMAN CORPORATION                )
and the NORTHROP GRUMMAN                    )
SEVERANCE PLAN,                             )
                                            )
                                            )
               Defendants.                  )

  PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR
 PARTIAL SUMMARY JUDGMENT ON COUNT I OF THE AMENDED COMPLAINT
                & DEFENDANTS’ AFFIRMATIVE DEFENSES
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       Plaintiffs Alan Carlson and Peter DeLuca, individually and on behalf of the certified

Class, pursuant to Local Rule 56.1, hereby submit this Memorandum of Law in support of their

Motion for Summary Judgment on Count I of the Amended Complaint and Defendants’

Affirmative Defenses. Count I seeks wrongfully denied severance benefits under the Northrop

Grumman Corporation Severance Plan (“the Plan”) pursuant to 29 U.S.C. § 1132(a)(1)(B).

                                   STANDARD OF REVIEW

       Summary judgment is proper when “the pleadings, the discovery and disclosure materials

on file, and any affidavits show that there is no genuine issue as to any material fact and that the

movant is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c); see Knight v.

Wiseman, 590 F.3d 458, 462 (7th Cir. 2009). A genuine issue of material fact exists if “the

evidence is such that a reasonable jury could return a verdict for the nonmoving party.” Pugh v.

City of Attica, 259 F.3d 619, 625 (7th Cir. 2001).

       For purposes of this ERISA benefit dispute, the Court has already held that this Plan

grants the plan administrator discretion to interpret plan terms and award benefits. (Dkt. #230).

But “[d]eferential review is not no review,” and “deference need not be abject.” Gallo v. Amoco

Corp., 102 F.3d 918, 922 (7th Cir. 1996). A court does not “rubber stamp” an administrator’s

decision, or “uphold a decision when there is absence of reasoning in the record to support it.”

Hennen v. Metro. Life Ins. Co., 904 F.3d 532, 539 (7th Cir. 2018). A court should overturn a

decision where there is no “rational support in the record” or the administrator failed to consider

“the relevant factors that encompass the important aspects of the problem.” Edwards v. Briggs &

Stratton Ret. Plan, 639 F.3d 355, 360 (7th Cir. 2011).
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                                          ARGUMENT

         Northrop Grumman’s (“Northrop”) decision to deny cash severance benefits because

Plaintiffs did not receive a memo from a Vice President of Human Resources (or his/her

designee) (“VP-HR”) is arbitrary and capricious. Northrop’s interpretation of the Plan’s

“Conditions for Receiving Benefits” section wrongly assumes the Plan confers unrestricted

discretion on the VP-HR at the time of layoff to pay or not pay severance for any possible

reason, despite the plain language and structure of the plan, combined with decades of chosen

interpretation and application requiring otherwise. In addition, several other principles of benefit

plan interpretation render Northrop’s interpretation arbitrary and capricious.

I.       The Court Must Weigh Northrop’s Conflict of Interest in Reviewing Its Decision to
         Deny Severance Benefits.

         The Court must weigh Northrop Grumman’s structural conflict of interest in reviewing its

decision. In reviewing the administrator’s decision, the Court must “remain cognizant of the

conflict of interest that exists when the administrator has both the discretionary authority to

determine eligibility for benefits and the obligation to pay benefits when due.” Hennen, 904 F.3d

at 539 (quoting Jenkins v. PriceWaterhouse Long Term Disability Plan, 564 F.3d 856, 861 (7th

Cir. 2009)). The Court must weigh that conflict of interest as a “factor in determining whether

there is an abuse of discretion.” Hennen, 904 F.3d at 539 (quoting Metro. Life Ins. Co. v. Glenn,

554 U.S. 105, 115 (2008); Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 115 (1989).

         Here, benefits are paid from Northrop’s general assets. (Pl. Stmt. of Facts, Dkt. #283

(hereinafter “PSOF”) ¶ 8). After Northrop standardized the severance schedule across the

Technical Services sector, it added a level of management approval, at the time of layoff, to issue

the memo from the VP HR. (Id. ¶¶ 33–35). Northrop management was concerned about costs

and affordability of severance payments, and based decisions about whether to give approval, on


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how much it would cost to pay that exact group of laid off employees the cash severance at the

time of layoff. (Id. ¶¶ 38–41, 44, 48–49). Since at least 2001, Northrop had sophisticated Human

Resources and Benefits Administration systems that coordinated pre-programmed severance

benefit eligibility based on business management’s selections, activated by entry of a termination

code indicating layoff. (Id. ¶¶ 16–29, 42). When Technical Services began withholding the VP-

HR memo from laid off employees it already coded as severance eligible, there began a

disconnect between cash severance and benefit continuation severance that was not a problem

the previous decade. (Id. ¶¶ 42–62). Northrop then revised its separation codes to cure that

disconnect. (Id. ¶ 61). But once Technical Services lowered the schedule of cash severance,

Northrop has never once used that new separation code, and HR is really not even aware it

exists. (Id. ¶¶ 61, 64–68). Accordingly, the Court should conclude the structural conflict of

interest influenced, if not wholly drove, Northrop’s interpretation of the Plan language.

II.    Northrop’s Interpretation It Can Deny Severance Due to Its Own Refusal to Deliver
       the Memo from the VP-HR to Laid off Employees for any Reason at All Is
       Arbitrary and Capricious.

       Northrop’s interpretation is arbitrary and capricious because it violates the plain language

and structure of the Plan, in addition to multiple principles of benefit plan interpretation. “In

interpreting the language of an ERISA-governed plan, [courts] apply the federal common law

rules of contract interpretation.” Cent. States, Se. & Sw. Areas Pension Fund v. Waste Mgmt of

Mich., 674 F.3d 630, 634 (7th Cir. 2012). “Plan terms [must] be interpreted in an ordinary and

popular sense, as they would be understood by a person of average intelligence and experience.”

Sellers v. Zurich Am. Ins. Co., 627 F.3d 627, 632 (7th Cir. 2010). The Court must construe the

terms according to their “common understanding as revealed in common speech.” Senkier v.

Hartford Life & Accident Ins. Co., 948 F.2d 1050, 1054 (7th Cir. 1991). Applying these

principles, Northrop’s interpretation was arbitrary and capricious.
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       A. Reading the Plan as a Whole Demonstrates the VP-HR Memo Is Not a
          Discretionary Eligibility Decision at Layoff Time Because Management Already
          Decides Which Employees Are “Eligible Employees.”

       Northrop interprets the “Conditions for Receiving Benefits” to mean the VP-HR has

unrestricted discretion to determine who is eligible, effectively denying severance to an

employee who met the criteria under “Eligible Employees.” But this interpretation contradicts

the plain meaning and structure of the Plan, especially in light of objective evidence showing

how that memo requirement had been applied the previous decade. “[T]he plan must be read as a

whole, considering separate provisions in light of one another and in the context of the entire

agreement. All language of a plan should be given effect without rendering any term

superfluous.” Schultz v. Aviall, Inc. Long Term Disability Plan, 670 F.3d 834, 838 (7th Cir.

2012); accord Young v. Verizon’s Bell Atl. Cash Balance Plan, 615 F.3d 808, 823 (7th Cir. 2010)

(citing Taracorp Inc. v. NL Indus., Inc., 73 F.3d 738, 746 (7th Cir. 1996)). “[I]f both a general

and a specific provision apply to the subject at hand, the specific provision controls.” Young, 615

F.3d at 823 (citing Medcom Holding Co. v. Baxter Travenol Labs., Inc., 984 F.2d 223, 227 (7th

Cir. 1993)). “[T]he choice of substantially different words to address analogous issues signifies a

different approach.” Taracorp, 73 F.3d at 744. “In some cases, the plain language or structure of

the plan or simple common sense will require the court to pronounce an administrator’s

determination arbitrary and capricious.” Hess v. Harford Life & Accident Ins. Co., 274 F.3d 456,

461 (7th Cir. 2001).

       The Plan defines “Eligible Employees” separately from the immediately following

“Conditions for Receiving Benefits,” indicating a difference between who is eligible, and

which eligible employees satisfy subsequent conditions to receive the benefits. (PSOF ¶ 8). The

more specific “Eligible Employees” section already includes a management decision on which

employees are covered by the Plan and eligible for severance in the event of layoff. (Id. (“you
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have been notified in writing by your management that you are covered by this Plan”)). That is

where sector management exercises discretion to determine the groups that are eligible, and then

communicates it to Corporate Compensation for recordkeeping, as described in the Guide to

Administration. (Id. ¶ 5). That occurred through the Benefit Program Coding process. (Id. ¶¶ 16–

29). Management notified the groups participating in severance long ago. (Id. ¶¶ 12–13). There

was no disclosure anybody’s eligibility changed (id. ¶¶ 55–56), except for Northrop amending

the Summary Plan Description to exclude certain additional groups in Technical Services (e.g.,

SCA employees). (PSOF ¶¶ 4, 8). Technical Services revised the BPCs for those newly ineligible

groups listed in the SPD, which are not members of the Class. (Id. ¶¶ 20, 36–37, 43).

       The “Conditions for Receiving Benefits” states “You must be designated as eligible for

this plan by a Vice President of Human Resources (or his/her designee). You are designated if

you received a memo addressed to you, notifying you of your eligibility for this benefit.” (Id.

¶ 8). Because those two provisions appear in separate, adjacent sections of the Plan, to give

meaning to all Plan terms the memo from the VP-HR must serve a distinct function from the

management decision of who is covered by the Plan referenced under “Eligible Employees.”

Treating the VP-HR as having unrestricted discretion to pick at the time of layoff who gets

severance under “Conditions for Receiving Benefits” would render the management decision

on who is eligible under “Eligible Employees” superfluous, and thus arbitrary and capricious.

The course of dealing illuminates how Northrop interprets and applies the VP-HR memo.

       B. Course of Dealing Demonstrates the BPC Reveals Which Employees Are
          “Eligible Employees” and Required to Receive the VP-HR Memo.

       The course of dealing in how Northrop applied the role of the VP-HR memo establishes

its meaning is a notification that the laid off employee meets the criteria under “Eligible

Employees.” In determining whether there is an ambiguity in the meaning of any term, and


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whether there is already an established meaning to an ambiguous term, courts look to objective

extrinsic evidence to determine the meaning. Young, 615 F.3d at 818; Rosetto v. Pabst Brewing

Co., 217 F.3d 539, 543 (7th Cir. 2000); Mathews v. Sears Pension Plan, 144 F.3d 461, 467–68

(7th Cir. 1998). Courts enforce plan terms according to the parties’ reasonable expectations, as

established by the course of dealing in how the terms historically applied. Young, 615 F.3d at

818; Mathews, 144 F.3d at 469.

       The objective evidence of how Northrop applied the Plan reveals the VP-HR memo

merely notifies the laid off employees they already satisfied the criteria under “Eligible

Employees” and notifies the employees of the number of weeks of cash severance and benefits

continuation, and the amount of money to be processed by payroll. Regarding “Eligible

Employees,” management decides which groups are covered or excluded, and then the sector

VP-HR coordinates with Benefits Administration to assign the covered employees a Benefit

Program Code (“BPC”) indicating severance eligibility in the event of layoff, consistent with the

process described in the Guide to Administration. (Id. ¶¶ 5–6, 16–22). The groups were notified

by management of participating in severance long ago. (Id. ¶¶ 12–13). There was no disclosure

they were no longer eligible (Id. ¶¶ 55–56), except through amendments to the Summary Plan

Description to exclude certain employees.

       As sectors changed groups of included or excluded employees to the section on eligibility

of the Summary Plan Descriptions (Id. ¶¶ 4, 8, 10), Northrop programmed those people’s BPCs

to reflect severance ineligibility. (Id. ¶¶ 36–37). Eligibility had to be determined before there was

any decision about layoff, as there is no other practical way to administer a plan that covers over

67,000 people and includes continuation of subsidized health insurance benefits. (Id. ¶¶ 23–29).

The Guide to Administration directs HR to notify employees they are in this group after



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management made that decision. (Id. ¶ 5). The business sectors should report to corporate human

resources the number of individuals management “offered” to participate in the plan, not just

those laid off who actually received payments. (Id. ¶ 6). Northrop accomplished this by tallying

the totals in a severance eligible BPC and reporting that count, which was used to complete the

Form 5500s. (Id. ¶¶ 28–29).

        Upon entry of a layoff separation code, the employees in severance eligible BPCs would

receive health insurance continuation via the severance Plan, unless the business unit specifically

notified Benefits Administration an eligible employee did not satisfy the Conditions for

Receiving Benefits. (Id. ¶¶ 21–24). The Guide to Administration conspicuously directs HR to

notify Benefits Administration if an employee was mistakenly not excluded, or did not sign the

release agreement. (Id. ¶¶ 5). The Plan was administered that way for at least a decade before

November 2011. (Id. ¶¶ 5, 24). As several HR professionals testified, everybody who met the

criteria under “Eligible Employees” at layoff received the memo from a VP-HR except in

Technical Services sector from October 2011 until February 2014 (which is the period in dispute

in this lawsuit). (Id. ¶¶ 14–15, 68).

        Once Technical Services started treating the VP-HR memo as an eligibility criteria under

“Eligible Employees,” with an added level of required management approval at layoff time,

instead of a “Condition for Receiving Benefits” (Id. ¶ 33), there arose a disconnect between

qualification for the continued health portion of severance and the cash severance, despite having

the same eligibility terms, and confusion within Technical Service as to who receives cash

severance. (Id. ¶¶ 8, 42–62). Plaintiffs and the Class members received the continued health

benefits portion of severance by being designated eligible through the BPC. (Id. ¶ 69). Northrop

attempted to create a new separation code two years after Technical Services added an additional



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level of management approval to issue the VP-HR memo (Id. ¶¶ 60–61), but since Technical

Services lowered the cash severance schedule, has never used it. (Id. ¶¶ 61, 67–68). When

Technical Services began denying employees severance, corporate leadership questioned that

decision. (Id. ¶¶ 46, 53). The Technical Services VP-HR represented the denials were due to cost

concerns over paying severance to Service Contract Act workers (id. ¶ 48), despite knowing the

Plan already excluded those workers. (Id. ¶ 49).

       The plain meaning and structure of the Plan, coupled with the parties’ decade-long prior

course of dealing, dictates the VP-HR memo listed under “Conditions for Receiving Benefits”

is not an eligibility criteria within “Eligible Employees.” (See id. ¶ 8). Consistent with the Plan

structure and course of dealing, the VP-HR (or his/her designee) simply determines the employee

being laid off is in a severance eligible BPC, and issues the memo communicating the amount of

cash severance and number of weeks of continued benefits. (See id. ¶¶ 9, 14–15, 68). Northrop’s

interpretation—that the VP-HR memo under “Conditions for Receiving Benefits” acts as a

discretionary determination on who is covered by the Plan in the “Eligible Employees”

section—is incompatible with the Plan’s structure and course of dealing, as well as the CEO-

level desire to make benefits consistent, allowing free movement of talent across sectors. (Id.

¶ 30). Allowing the VP-HR to exercise total and unlimited discretion to withhold the memo from

a laid off employee in a severance eligible BPC for any reason at all (id. ¶ 75–77), including a

general reluctance to pay (id. ¶¶ 38, 40–41), that it is not a good time for severance (id. ¶ 39), or

that is just how a roll of the dice fell that day (id. ¶ 76)—is arbitrary and capricious. Multiple

additional principles of benefit plan interpretation, discussed below, reinforce that conclusion.




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       C. Northrop’s Interpretation Adds an Eligibility Requirement Not Communicated
          in the Plan: that the Business Manager Gives a Second Approval at Layoff.

       Northrop’s interpretation of the “Conditions for Receiving Benefits”—that the VP-HR

has total discretion, untethered to anything, to withhold the memo at layoff—is arbitrary and

capricious because it adds a requirement to “Eligible Employees” absent from the Plan’s terms:

that the VP-HR (or a business manager) feels like paying the severance at the time of the layoff

for whatever reason. A plan administrator may not impose a requirement to receive benefits not

communicated in the Plan. Dabertin v. HCR Manor Care, Inc., 373 F.3d 822, 831 (7th Cir. 2004)

(“An ERISA benefit cannot be a moving target where the plan administrator continues to add

conditions precedent to the award of benefits.”); see also Swaback v. Am. Info. Tech. Corp., 103

F.3d 535, 542 (7th Cir. 1996) (holding where administrator “imposed requirements that were not

part of the AMPP and repeatedly informed Mr. Swaback that he could not elect the lump sum

equivalent of his service pension unless he met those additional, unenumerated requirements . . .

the committee acted arbitrarily and capriciously in interpreting the AMPP.”); Cozzie v. Metro.

Life Ins. Co., 140 F.3d 1104, 1108 (7th Cir. 1998) (explaining administrator with discretion can

interpret terms, but not to add new conditions).

       The Plan already allowed management to choose which groups were eligible for

severance under “Eligible Employees,” reflected in the BPC. (PSOF ¶¶ 4–5, 8, 10–15, 16–27)

Technical Services, however, purported to add an additional level of management approval at the

time of layoff through the Program Severance Authorization Form. (Id. ¶¶ 32, 35, 38, 40). This

second level of management approval—or desire to pay the severance to the laid off employees

at the time of layoff—is not communicated under “Eligible Employees” in the Plan. (Id. ¶¶ 4, 8,

10). The definition of “Eligible Employees” does not even mention the memo from the VP-HR,

let alone whether delivery of that memo is a discretionary decision. Denying the memo to


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individuals who satisfied every criteria under “Eligible Employees” thus adds an eligibility

requirement not communicated in the Plan, which is arbitrary and capricious. Having established

the memo is not an eligibility requirement, but an act of notifying the eligibility criteria were

met, Northrop cannot read discretion into that act that is not described in the Plan.

       D. The Plan Does Not Sufficiently Communicate to Employees the VP-HR Will
          Exercise Total Discretion Untethered to Any Eligibility Criteria in Deciding
          Whether to Deliver the Memo.

       Northrop’s interpretation of the “Conditions for Receiving Benefits” as granting the

VP-HR total and unrestricted discretion (PSOF ¶ 77) to decide on a case-by-case basis whether

to deliver the memo is arbitrary and capricious because the Plan does not communicate that

additional level of discretion, or upon what that discretion is based. A benefit plan may confer

discretion unto a person that affects whether or not participants will receive benefits only if the

plain language clearly discloses that discretion. Herzberger v. Standard Ins. Co., 205 F.3d 327,

330–31 (7th Cir. 2000) (holding language that claimant receives benefits when the administrator

determines upon satisfactory proof the claimant is entitled to them insufficiently communicates

existence of any discretionary decision). The Herzberger court reasoned “the conferral of

discretion is not to be assumed. Especially not when we consider the importance of fringe

benefits covered by ERISA plans to modern employees . . . .” Id. at 331. The extent of

participants’ rights under a plan is inversely related to breadth of discretion conferred upon

another to determine those rights. Id. “The employees are entitled to know what they’re getting

into, and so if the employer is going to reserve a broad, unchanneled discretion to deny claims,

the employees should be told about this, and told clearly.” Id. at 332–33.

       In the Section entitled “Conditions for Receiving Benefits,” the Plan states “You must

be designated as eligible for this plan by a Vice President of Human Resources (or his/her

designee). You are designated if you received a memo addressed to you, notifying of your
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eligibility for this benefit.” (PSOF ¶¶ 4, 8, 10). That sentence does not suggest any discretion, or

mention how the VP-HR is to use any discretion (except to determine whether the person met the

criteria under “Eligible Employees,” which is not in dispute). Northrop demonstrated the ability

to clearly alert employees when the VP-HR will exercise discretion, and precisely what is

determined in that person’s discretion, when drafting the Technical Services Appendix. (Id. ¶ 10,

Doshi Dep. Ex. 19 at NGC14563 (“as determined by the Technical Services Vice President of

Human Resources (or his/her designee) in his/her discretion”)). Northrop contends the VP-HR

has broad discretion to withhold the memo for any reason at all, including a roll of dice. (PSOF

¶¶ 76–77). Under Herzberger, that level of discretion must be very clearly described, and the

language about receiving the memo does not meet Herzberger’s demands.

       Defendants have contended in earlier briefing (Dkt. #44 at 14) such broad discretion is

acceptable under McNab v. General Motors Corp., 162 F.3d 959, 961–62 (7th Cir. 1998)

(evaluating whether eligibility decisions according to GM’s “best interest” was arbitrary and

capricious). But McNab did not address whether that language sufficiently conferred discretion,

as plaintiff did not challenge that issue. Id. at 962. After Herzberger, the language in McNab

would not sufficiently confer discretion, and the language in McNab was more clear than what

Northrop contends gives the VP-HR unrestricted discretion here.

       E. Northrop’s Interpretation Creates Different Applications of the Same Eligibility
          Criteria with Respect to Cash Severance and Non-Cash Severance.

       Northrop’s interpretation of “Conditions for Receiving Benefits” as granting the VP-HR

total, unrestricted discretion to withhold the memo and deny cash severance is arbitrary and

capricious because it created two ways of applying the same criteria for two different purposes.

When a plan uses the same eligibility criteria for two different benefits under a plan, applying

that same criteria inconsistently for each of those purposes is arbitrary and capricious. Reich v.


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Ladish Co., 306 F.3d 519, 525 (7th Cir. 2002) (holding plan administrator arbitrarily interpreted

the term “Participant” in denying a disability pension where it applied the same term differently

for purposes of an old age pension).

       Once a term has been defined by the Plan and interpreted by the administrator to
       have a particular meaning, the administrator may not change the meaning when
       the term is used in a different part of the Plan without any basis in the Plan or in
       ERISA to do so. This is the very definition of arbitrary and capricious. Ladish has
       not offered a single reason, either in its brief or at oral argument, to give two
       different meanings to the word “Participant” in two different parts of the Plan.
       Having conceded that Reich is a Participant for the purposes of the deferred
       vested retirement benefits, the Plan may not argue that he is not a Participant for
       the purposes of Disability retirement benefits. Such a decision is therefore clearly
       unreasonable, and cannot stand. Because Ladish's sole reason for the denial of
       benefits rests on an unreasonable interpretation of the Plan, Reich is entitled to
       summary judgment.

Id.; see also Schane v. Int’l Bhd. of Teamsters Union Local No. 710 Pension Fund Pension Plan,

760 F.3d 585, 591–92 (7th Cir. 2014) (explaining applying the term “retire” one way for purposes

of a pension, and another ways for purposes of suspending pension payments, is arbitrary and

capricious); D&H Therapy Assocs., LLC v. Boston Mut. Life Ins. Co., 640 F.3d 27, 41 (1st Cir.

2011) (holding insurer abused its discretion by interpreting “earnings” to only include W2 wages

when used to calculate disability benefits, but to include all non-W2 income when used to

determine if benefits could be terminated).

       The Plan has the same eligibility criteria for cash severance and non-cash (i.e., continued

health) benefits. (PSOF ¶¶ 4, 8, 10 (stating benefits consist of two parts, and if you are eligible

for benefits under the plan, you also get continued health benefits)). Northrop already interpreted

and applied the “Eligible Employees” criteria to mean those designated by management reflected

by the BPC, and the memo from a VP-HR under “Conditions for Receiving Benefits” as a non-

discretionary means to notify the laid off employee he or she was designated severance eligible

via BPC and the amount of severance and duration of continued health benefits. (Id. ¶¶ 14–29).


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Kathleen Sholinsky explained it had been that way for at least a decade before November 2011.

(Id. ¶¶ 24, 42). The 2002 Guide to Administration evidences that historical understanding. (Id.

¶ 5). Technical Services revamped its benefit offerings for 2012, revised BPC codings to reflect

who was newly excluded in the Summary Plan Description, and communicated to Benefits

Administration to program nearly all employees that were neither unionized nor Service Contract

Act as severance eligible. (Id. ¶¶ 20, 36–37, 43). Even though the criteria were the same,

Technical Services wanted to make cash severance eligibility hinge on unrestricted VP-HR

discretion at the time of layoff (PSOF ¶¶ 30, 72, 74) “This is the very definition of arbitrary and

capricious.” Reich, 306 F.3d at 525.

       F. Northrop’s Interpretation Necessarily Results in the Party Who Prevented a
          Condition from Occurring Using the Non-Occurrence to Avoid Its Own
          Performance.

       Northrop’s interpretation of “Conditions for Receiving Benefits” is arbitrary and

capricious because it would result in the party who caused non-occurrence of a condition to use

that condition’s non-occurrence to evade its performance under the Plan. In ERISA benefit plans,

a party cannot prevent the occurrence of a condition to receive benefits and then stand on that

non-occurrence to evade paying benefits, especially when operating under a conflict of interest.

See Swaback v. Am. Info. Techs. Corp., 103 F.3d 535, 542–43 & n.18 (7th Cir. 1996) (“It is basic

contract law that a party who prevents the occurrence of a condition precedent may not stand on

that condition’s non-occurrence to refuse to perform his part of the contract . . . Ameritech

should not be able to benefit from its inducement of the non-occurrence of the condition.”).

       Northrop is under a similar conflict of interest. Supra § I. The Plan states nothing upon

which a VP-HR could base non-delivery of the memo except the eligibility criteria listed under

“Eligible Employees” (PSOF ¶¶ 4, 8, 10). There is no dispute that Plaintiffs and the Class were

“Eligible Employees.” (Id. ¶¶ 73, 75, 77 (explaining the claims were denied for not meeting
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“Conditions for Receiving Benefits,” rather than based on not satisfying criteria under

“Eligible Employees”)).1 The BPCs reflect eligibility is not in dispute. Plaintiffs were notified

by management about eligibility long ago, and there was no disclosure they were no longer

eligible. (Id. ¶¶ 12–13, 55–56). The categories of employees who were ineligible were

specifically identified in the updated Summary Plan Description, and their BPCs reprogrammed

accordingly. (Id. ¶¶ 4, 8, 36–37). What is in dispute is whether the VP-HR can make an entirely

unrestricted discretionary decision at the time of layoff as part of the “Conditions for Receiving

Benefits” to deny benefits to “Eligible Employees” who meet all other criteria. Because the Plan

language does not communicate that kind of discretion, Northrop arbitrarily withheld the VP-HR

memo from eligible employees and then used that non-delivery to deny severance, which

Swaback prohibits.

III.    Summary Judgment Should Be Granted on All Affirmative Defenses.

        Defendants bear the burden of proof on their affirmative defenses. Emp’rs Ins. of Wausau

v. Titan Int’l, Inc., 400 F.3d 486, 490 (7th Cir. 2005). “A plaintiff may use a motion for summary

judgment to point out the nonmoving party’s inability to come forward with evidence sufficient

to support a verdict for it on an affirmative defense on which it will have the burden of proof at

trial.” Simpson v. Safeguard Props., LLC, No. 13-02453, 2017 WL 4310674, at *9 (N.D. Ill.

Sept. 28, 2017); see also Goss v. Receivables Performance Mgmt., LLC, No. 19-0642, 2020 WL

2219048, at *5–6 (N.D. Ill. May 7, 2020) (granting summary judgment on defendants’

affirmative defense).




1
 An administrator vested with discretionary authority may not advance a rationale for the benefit denial
not given in its administrative decision, or argue a different interpretation of the plan terms inconsistent
with those given during administrative review. Reich, 306 F.3d at 524 n.1; Halpin v. W.W. Grainger, Inc.,
962 F.2d 685, 696 (7th Cir. 1992).

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       A. Defendants’ First Four Affirmative Defenses Were Previously Rejected.

       Defendants’ First Defense alleges failure to state a claim for relief under Rules 12(b)(6)

and 12(b)(1) and the Second Defense alleges lack of subject matter jurisdiction. (Dkt. #129,

Answer, at 1st & 2nd Defenses). This Court previously denied Defendants’ Rule 12(b)(6) motion.

Carlson v. Northrop Grumman Corp., 196 F. Supp. 3d 830, 833, 838 (N.D. Ill. 2016). As this

action is brought under ERISA, this Court has subject matter jurisdiction. 29 U.S.C.

§§ 1132(e)(1) & 1132(f). (PSOF ¶ 1). Defendants also already successfully argued the Plan is

governed by ERISA. Carlson v. Northrop Grumman Corp., No. 13-2635, 2014 WL 1299000, at

*4–5 (N.D. Ill. Mar. 31, 2014).

       Defendants’ Third Defense alleges that Plaintiffs lack standing because they are “neither

participants nor beneficiaries” of the Plan. (Dkt. #129, Answer, at 3d Defense). The Court

previously rejected this “defense” and held that where the plaintiff is a former employee, “the

term ‘participant’ [in ERISA] has been interpreted to mean someone who has ‘a colorable

claim’” to benefits. Carlson v. Northrop Grumman Corp., No. 13-2635, 2014 WL 5334038, at

*5, *8 (N.D. Ill. Oct. 20, 2014).

       Defendants’ Fourth Defense alleges that Plaintiffs failed to “exhaust the administrative

procedures.” (Dkt. #129, Answer, at 4th Defense). There is no dispute Plaintiffs submitted

administrative claims that were denied, and that Plaintiffs submitted timely appeals that were

also denied. (Dkt. #62, Am. Compl., ¶¶ 53–55; Dkt. #129, Answer, ¶¶ 53–55). The Court

concluded administrative exhaustion was not required for Class Members. Carlson v. Northrop

Grumman Corp., 333 F.R.D. 415, 422 (N.D. Ill. 2019) (rejecting Defendants’ argument that

typicality was lacking “because other class members might have failed to exhaust”).




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       B. Defendants’ Fifth, Sixth & Seventh “Defenses” Are Not Affirmative Defenses.

       Defendants’ Fifth Defense asserts that the Plan Administration’ decisions were arbitrary

and capricious. (Dkt. #129, Answer, at 5th Defense). The Sixth and Seventh Defenses allege that

the forms of relief requested are “not available under ERISA” or “duplicative” and Plaintiffs’

claims do not satisfy Rule 23. (Id. at 6th & 7th Defenses). None of these is an affirmative defense.

Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080, 1088 (9th Cir. 2002) (“A defense which

demonstrates that plaintiff has not met its burden of proof is not an affirmative defense.”); In re

Rawson Food Serv., Inc., 846 F.2d 1343, 1349 (11th Cir.1988) (recognizing that a defense which

points out a defect in plaintiff's prima facie case is not an affirmative defense); Jones v. Knox

Cnty. Assn. for Retarded Citizens, Inc., No. 15-257, 2016 WL 1627628, at *2 (S.D. Ind. Apr. 19,

2016) (same). Likewise, a defendant’s assertion that a plaintiff cannot meet the Rule 23

requirements is not an affirmative defense, but a rebuttal of the plaintiff’s class allegations.

Johnson v. Providence Health & Servs., No. 17-1779, 2018 WL 2289331, at *3 (W.D. Wash.

May 18, 2018) (striking such a defense). Summary judgment is proper on such “defenses.”

Resolution Trust Corp. v. O'Bear, Overholser, Smith & Huffer, 886 F. Supp. 658, 672 (N.D. Ind.

1995) (granting summary judgment).

       C. Defendants Have No Evidence the Claims of Plaintiffs or the Class Are Barred
          by Any Statute of Limitations.

       Defendants’ Eighth Defense alleges that Plaintiffs’ class claims are barred by the

applicable statutes of limitations. (Dkt. #129, Answer, at 8th Defense). In response to

interrogatories, Defendants averred that they had no “evidence suggesting that Plaintiffs’

individual claims were untimely” and this defense applies only potentially to some absentee class

members. (PSOF ¶ 79). Not only have Defendants failed to produce any evidence to support this

assertion, but there is also no legal basis to support this affirmative defense.


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               1.     Count I’s § 1132(a)(1)(B) Claim Is Undisputedly Timely.

       Class Members’ claims are undisputedly timely because the class members’ claims under

Count I arise from the same conduct as alleged in the named plaintiffs’ complaint. The Plan

states that “any lawsuit must be filed within six months from the date of your denied appeal, or

two years from your termination date, whichever occurs first.” (PSOF ¶ 78, Ex. A-3 at

NGC06978). Because the Court concluded administrative exhaustion was not required for Class

Members, two years from the date of termination is the applicable deadline. See Carlson, 333

F.R.D. at 422 (rejecting Defendants’ argument that typicality was lacking “because other class

members might have failed to exhaust”).

       Plaintiffs filed their complaint on April 9, 2013, (Dkt. #1), a motion for leave to amend

the complaint to assert the same claim on behalf of a class—with a filed copy of the proposed

amended complaint on behalf of the class—on June 16, 2014 (Dkt. #39), and the amended

complaint with leave of Court over Defendants’ objection on October 22, 2014. (Dkt. #62). Rule

15(c) states an amendment to a pleading relates back to the date of the original pleading when

“the amendment asserts a claim or defense that arose out of the conduct, transaction, or

occurrence set out—or attempted to be set out—in the original pleading”. Fed. R. Civ. P.

15(c)(1)(B). Both the Seventh Circuit and the Northern District of Illinois have held where an

amended complaint makes the same claim in the original complaint but on behalf of a class, it

relates back to the original filing date. See Paskuly v. Marshall Field & Co., 646 F.2d 1210, 1211

(7th Cir. 1981) (holding single plaintiff claim for gender discrimination amended to state same

claim on behalf of a class related back); Hawkins v. Groot Indus., Inc., 210 F.R.D. 226, 231–32

(N.D. Ill. 2002) (holding additional of second class of Hispanic Americans also alleging

discrimination related back). Because both the amended complaint challenged the exact same

conduct, all Class Members are deemed to have filed suit on April 9, 2013.
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               2.      Count II’s § 1140 Claim Is Undisputedly Timely.

       ERISA does not provide for a statute of limitations for 29 U.S.C. § 1140 claims, so the

applicable limitation is based on analogous state statute of limitations, recognizing that § 1140

protects “against several distinct abuses.” Teumer v. Gen. Motors Corp., 34 F.3d 542, 549–50

(7th Cir. 1994). The forum state law applies “unless another state has more significant contacts

with the dispute.” Berger v. AXA Network LLC, 459 F.3d 804, 813 (7th Cir. 2006). Courts

applying Illinois law to § 1140 claim apply the 5-year limit for retaliatory discharge. Teumer, 34

F.3d at 549–50 (applying limitations period to § 1140 claim). However, an argument could be

made the decision to withhold the VP-HR memos was made at headquarters in Virginia. Virginia

courts apply a 5-year statute of limitations to § 1140 claims where the “allegations are more akin

to a state claim for tortious interference with a contract.”Eweka v. Hartford Life and Acc. Ins.

Co., 955 F. Supp. 2d 556, 563 (E.D. Va. 2013) (applying 5-year limitations period in Va. Code

§ 8.01-243(B). Here, Count II alleges that Northrop violated ERISA by withholding the VP-HR

memo, not by terminating employees, to prevent them from receiving severance benefits, which

is similar to a claim for tortious interference. (Dkt. #62, Am. Compl., ¶¶ 64–77).

       A § 1140 claim accrues “when the putative plaintiff discovers the injury that results”

from the unlawful action. Teumer, 34 F.3d at 550; Berger, 459 F.3d at 815 (“[A]ccrual of a § 510

claim turns on the discovery of the decision to interfere with benefits”). There is no evidence that

any Class Members discovered before January 2012 that they would not receive cash severance

for not receiving a Memo. (See PSOF ¶ 79). Plaintiffs filed a complaint including this claim

April 9, 2013. (Dkt. #1). They moved for leave to amend, attaching a proposed amended

complaint on June 16, 2014. (Dkt. #39). They formally filed the amended complaint with leave

on October 24, 2014. (Dkt. #60). Regardless of the date used, Class Members’ claims under

Count II are timely under either Illinois’s or Virginia’s 5-year limitations period.
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               3.      Count III’s Breach of Fiduciary Duty Claim for Failure to Disclose
                       Under § 1132(a)(3) Claim Is Undisputedly Timely.

       A breach of fiduciary duty action under ERISA is timely so long as it is commenced by

no later than the earlier of “six years after (A) the date of the last action which constituted a part

of the breach or violation, or (B) in the case of an omission the latest date on which the fiduciary

could have cured the breach or violation” or “three years after the earliest date on which the

plaintiff had actual knowledge of the breach or violation.” 29 U.S.C. § 1113. Count III alleges an

omission claim that Northrop breached its fiduciary duties by failing to disclose to participants

the changed use of the Plan’s notice provision from a purely administrative step to a qualification

method. (Dkt. #60, Am. Compl., ¶¶ 79–84). There is no evidence that before January 2012,

Northrop cured their breach or made a disclosure or any Class Member actually knew that

Northrop had changed its use of the Plan’s notice provision. Thus, Count III is timely.

                                          CONCLUSION

       For the reasons set forth above, Plaintiffs respectfully request the Court grant their

motion for partial summary judgment on Count I of the Amended Complaint and Defendants’

affirmative defenses, and enter an Order awarding benefits to the members of the Class who

immediately prior to layoff were in a severance eligible Benefit Program Code, were laid off,

and were not given a memo from a Vice President of Human Resources (or his or her designee)

advising them they were eligible.




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Dated: July 3, 2020                           Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing

was served upon all parties of record via the Electronic Filing System of the U.S. District Court

for the Northern District of Illinois on July 3, 2020.

                                                              /s/ Michael Bartolic
                                                              Michael Bartolic




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